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UNITED STATES DlS"l`RlCT COURT
WESTERN DISTRlC"l` OF NEW YORK

 

DARLE`NE LOWR`Y, CGMPRAENT
Plaintiff,

v.7 Civil Action Noa:

FRANK FARINA,

Defendant. JUR`Y TREAL DEMANDED

 

 

Plaintiff, Darlene Lovvry5 complaining by her attorneysj l\/lcConville, Considine, Coornan

& l\/Iorin, P.C,, alleges the following:

JURISDECTH}N AND VENUE

l. This Court has jurisdiction of this action under 28 `U.S.C. § l332(a) based upon the
diversity of citizenship of plaintiffs and defendants, and the amount in controversy exceeding
$'75,000.

2. `Venue is proper in this Court pursuant to 28 U.S.C. § 139l (b) because a substantial
part of the events giving rise to the claim occurred in the Western District of Nevv York, and
specifically in l\/lonroe County, NeW York.

PARTIES

3. Plaintiff Darlene Lovvry ("l\/lrs. LoWry") is an individual Who currently resides at
46 Flerning Street, Rochester, NY 14612. She is a citizen of Nevv York.

4. Upon information and belief, Defendant Frank Farina ("Mr. Farina") is an
individual Who currently resides at 195l Canadiana Court, Dunedin, FL 34698. He is a citizen of

Florida.

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FACTS

5. At all relevant times hereins l\/lr. hanna owned and maintained, as landlord, a
residential home located at l45 California Drive, Rochester, N`Y l46l6 (the “Property”) which
was rented by l\/lrsia Lowry and her husband, as tenants

6. On the evening of August 24, 20l”75 around 930 p,m,, l\/lrs. lsovvry excited the front
door of the Property to retrieve materials from her carr

7. When l\/lrs. Lowry attempted to walk down the set of stairs while exiting from the
Property entrance, a rotted step slid out and she fell forward through other collapsing steps onto
her knees. As she fell, her feet and ankles tangled in the crumbling wooden debris., She called her
husband5 who drove her to Parl; Ridge Unity Hospital for treatment of her injuries caused by the
fall

8. F or many months prior to the fall, l\/lrs. Lowry and her husband informed Mr° Farina
that the front steps to the home were deteriorating and needed replacement or repair. l\/lr. and l\/lrs.
Lowry specifically notified Mr. Farina of the defective condition of the stairs on the monthly rent
check.

9. l\/lr. Farina refused to repair the steps

l(). Upon information and belief, the stairs at the Property were inadequately designed
and constructed with narrow, weak plywood boards that were insufficient to support the structure.

l 1. As a result of the injuries suffered by l\/lrs. Lowry, she sustained economic
damages, pain and suffering, medical and hospital expenses, curtailment of various activities, and

loss of enjoyment of life.

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(Negligence)t

lZ. Plaintiff repeats and realleges as though hilly set forth herein each of the allegations
contained in paragraphs l through llo

l3. As the owner and landlord of a residential building5 l\/lrn Farina knew or should have
known that his tenants like l\/lrsc Lowry would regularly use9 and that visitors would regularly
frequent the Property, and particularly its entry stairs

l4. Upon information and belief, on August 24, 2017, the Property was not in a
reasonably safe condition due to its poorly constructed and deteriorating entry stairs

l§. As such, l\/lr. Farina failed to take reasonable efforts to maintain the premises in
such a condition that tenants and visitors to the Property will not unnecessarily or unreasonably be
exposed to danger.

16. l\/lr. Farina was negligent in failing to properly maintain the entry stairs that could
foreseeably endanger those living in or visiting the Property.

l7. Furthermore, upon information and beliefj l\/lr. Farina or his agent was negligent in
designing or constructing entry stairs at the Property with narrow, weak plywood boards that were
insufficient to support the structure

18. This unsafe condition of the deteriorating stairs at the Property was a substantial
factor in causing the injuries to l\/lrs., Lowry.

l9. Mrs. Lowry was injured when a rotted step slid out and she fell forward through
other collapsing steps onto her knees

20. As owner of the property and landlord to Mrs. Lowry, Mr. Farina is liable for the

injuries to l\/lrs. Lowry.

 

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2la As a result of the foregoing, Mrs Lowry suffered and will continue to suffer
damages including: economic damages pain and suffering, medical and hospital expenses,
curtailment of various activities and loss of enjoyment of life,

WHEREF®RE, Plaintiff demands judgment against the defendant:

l , On the First Cause of Action for compensatory money damages in a fair, reasonable
and adequate amount to compensate l\/lrsa Lowry for the injuries she has suffered9 and in an amount
in excess of the 875,000 minimum threshold for diversity actions in this Court;
together with the costs and disbursements of this action, and such other, further or different relief
as, to the Court, may seem just and proper

Dated: June 4, 2018
l\/lcCON'\/ILLE, CONSIDINE,

COOl\/IAN & l\/lORIN, P.C.
Attorneysfor Plaintiij

   
 

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